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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

JEFFREY FRANZ, et al,

              Plaintiffs,                      Hon. Mark A. Goldsmith

v                                              No. 21-12871

OXFORD COMMUNITY SCHOOLS,
TIMOTHY THRONE, STEVEN WOLF,
RYAN MOORE, COUNSELOR #1,
COUNSELOR #2, STAFF MEMBER,
TEACHER #1 and TEACHER #2,

              Defendants.
_____________________________________/
 GEOFFREY N. FIEGER (P30441)                 TIMOTHY J. MULLINS (P28021)
 JAMES J. HARRINGTON (P65351)                KENNETH B. CHAPIE (P66148)
 ROBERT G. KAMENEC (P35283)                  JOHN L. MILLER (P71913)
 NORA Y. HANNA (P80067)                      ANNABEL F. SHEA (P83750)
 MILICA FILIPOVIC (P80189)                   Giarmarco, Mullins & Horton, P.C.
 Fieger, Fieger, Kenney & Harrington, P.C.   Attorneys for Defendants, Oxford
 Attorneys for Plaintiffs                     Community Schools, Timothy Throne,
 19390 West Ten Mile Road                     Steven Wolf and Ryan Moore
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                ANSWER TO FIRST AMENDED COMPLAINT

      Defendants, OXFORD COMMUNITY SCHOOLS, TIMOTHY THRONE,

STEVEN WOLF and RYAN MOORE, by and through their attorneys,
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GIARMARCO, MULLINS & HORTON, P.C., state their answer to Plaintiffs’ First

Amended Complaint as follows:

                                  INTRODUCTION

      Defendants deny the narration of facts set forth in the “Introduction” for the

reason that said Introduction is improper as to form, as required by the applicable

rules of pleadings. Otherwise, the allegations therein are denied for the reason that

they are untrue as to factual representation and contain incorrect and erroneous

conclusions of law. Therefore, Plaintiffs are left to their proofs thereon.

                          JURISDICTION AND VENUE

      1.     In answer to paragraph 1, Defendants neither admit nor deny the

allegations contained therein for lack of knowledge upon which to form a belief and,

therefore, leave Plaintiffs to their proofs.

      2.     In answer to paragraph 2, Defendants neither admit nor deny the

allegations contained therein for lack of knowledge upon which to form a belief and,

therefore, leave Plaintiffs to their proofs.

      3.     In answer to paragraph 3, Defendants neither admit nor deny the

allegations contained therein for lack of knowledge upon which to form a belief and,

therefore, leave Plaintiffs to their proofs.

      4.     In answer to paragraph 4, Defendants neither admit nor deny the

allegations contained therein for lack of knowledge upon which to form a belief and,

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therefore, leave Plaintiffs to their proofs.

      5.     In answer to paragraph 5, Defendants neither admit nor deny the

allegations contained therein for lack of knowledge upon which to form a belief and,

therefore, leave Plaintiffs to their proofs.

      6.     In answer to paragraph 6, Defendants neither admit nor deny the

allegations contained therein for lack of knowledge upon which to form a belief and,

therefore, leave Plaintiffs to their proofs.

                                       PARTIES

      7.     In answer to paragraph 7, Defendants hereby incorporate by reference

their responses contained in paragraphs 1 through 6 inclusive, as if fully set forth

herein.

      8.     In answer to paragraph 8, Defendants neither admit nor deny the

allegations contained therein for lack of knowledge upon which to form a belief and,

therefore, leave Plaintiffs to their proofs.

      9.     In answer to paragraph 9, Defendants neither admit nor deny the

allegations contained therein for lack of knowledge upon which to form a belief and,

therefore, leave Plaintiffs to their proofs.

      10.    In answer to paragraph 10, Defendants neither admit nor deny the

allegations contained therein for lack of knowledge upon which to form a belief and,

therefore, leave Plaintiffs to their proofs.

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      11.    In answer to paragraph 11, Defendants admit that said Plaintiffs have

attended Defendant School District for a period of time. Defendants neither admit

nor deny the remaining allegations contained therein for lack of knowledge upon

which to form a belief and, therefore, leave Plaintiffs to their proofs.

      12.    In answer to paragraph 12, Defendants neither admit nor deny the

allegations contained therein for lack of knowledge upon which to form a belief and,

therefore, leave Plaintiffs to their proofs.

      13.    In answer to paragraph 13, Defendants deny the allegations as being

untrue and affirmatively aver that Oxford Community Schools is a Michigan Public

School District performing a governmental function in Oakland County, Michigan,

to wit, providing a free and appropriate public education for the students thereof and,

as such, is immune from suit herein.

      14.    In answer to paragraph 14, Defendant, Timothy Throne, admits that he

is the Acting Superintendent of Oxford Community Schools. Defendants neither

admit nor deny the remaining allegations contained therein for lack of knowledge

upon which to form a belief and, therefore, leave Plaintiffs to their proofs.

      15.    In answer to paragraph 15, Defendant, Steven Wolf, admits that he is

the Principal for Oxford High School. Defendants neither admit nor deny the

remaining allegations contained therein for lack of knowledge upon which to form

a belief and, therefore, leave Plaintiffs to their proofs.

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      16.    In answer to paragraph 16, Defendants deny the allegations for the

reason that the allegations are untrue. Defendant, Ryan Moore, was not the Dean of

students for Oxford High School on November 30, 2021.

      17.    In answer to paragraph 17, Defendants deny the allegations for the

reason that the allegations are untrue.

      18.    In answer to paragraph 18, Defendants deny the allegations for the

reason that the allegations are untrue.

      19.    In answer to paragraph 19, Defendants deny the allegations for the

reason that the allegations are untrue.

      20.    In answer to paragraph 20, Defendants deny the allegations for the

reason that the allegations are untrue.

      21.    In answer to paragraph 21, Defendants deny the allegations for the

reason that the allegations are untrue.

                            FACTUAL STATEMENT
      22.    In answer to paragraph 22, Defendants hereby incorporate by reference

their responses contained in paragraphs 1 through 21 inclusive, as if fully set forth

herein.

      23.    In answer to paragraph 23, Defendants admit the allegations.

      24.    In answer to paragraph 24, Defendants admit the allegations.

      25.    In answer to paragraph 25, Defendants admit the allegations.

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      26.    In answer to paragraph 26, Defendants admit the allegations.

      27.    In answer to paragraph 27, Defendants neither admit nor deny the

allegations contained therein for lack of knowledge upon which to form a belief and,

therefore, leave Plaintiffs to their proofs.

      28.    In answer to paragraph 28, Defendants admit the allegations.

      29.    In answer to paragraph 29, Defendants admit the allegations.

      30.    In answer to paragraph 30, Defendants neither admit nor deny the

allegations contained therein for lack of knowledge upon which to form a belief and,

therefore, leave Plaintiffs to their proofs.

      31.    In answer to paragraph 31, Defendants neither admit nor deny the

allegations contained therein for lack of knowledge upon which to form a belief and,

therefore, leave Plaintiffs to their proofs.

      32.    In answer to paragraph 32, Defendants neither admit nor deny the

allegations contained therein for lack of knowledge upon which to form a belief and,

therefore, leave Plaintiffs to their proofs.

      33.    In answer to paragraph 33, Defendants deny the allegations for the

reason that the allegations are untrue.

      34.    In answer to paragraph 34, Defendants neither admit nor deny the

allegations contained therein for lack of knowledge upon which to form a belief and,

therefore, leave Plaintiffs to their proofs.

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      35.    In answer to paragraph 35, Defendants deny the allegations for the

reason that the allegations are untrue. Defendants affirmatively aver that Defendant

Moore was and is not employed at Oxford High School.

      36.    In answer to paragraph 36, Defendants deny the allegations contained

therein for the reason that they are untrue. Defendant Moore was not the Dean of

students at Oxford High School on November 30, 2021.

      37.    In answer to paragraph 37, Defendants neither admit nor deny the

allegations contained therein for lack of knowledge upon which to form a belief and,

therefore, leave Plaintiffs to their proofs.

      38.    In answer to paragraph 38, Defendants deny the allegations for the

reason that the allegations are untrue.

      39.    In answer to paragraph 39, Defendants deny the allegations contained

therein for the reason that they are untrue. Defendants further state that Sheriff Mike

Bouchard publicly stated that Ethan Crumbley did not publish the countdown clock

on social media and in fact “had nothing to do” with the countdown clock. According

to Sheriff Bouchard, the countdown clock was “run by a bar in the area that was

counting down to a band’s performance.” Before the incident on November 30,

2021, Defendants were unaware of any social media posts Ethan Crumbley may

have made.

      40.    In answer to paragraph 40, Defendants neither admit nor deny the

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allegations, for the reason that Defendants are unaware of facts that support or refute

the allegations after a reasonable investigation.

      41.    In answer to paragraph 41, Defendants neither admit nor deny the

allegations, for the reason that Defendants are unaware of facts that support or refute

the allegations after a reasonable investigation. Defendants further deny the

allegations to the extent that the allegations suggest Defendants had reason to believe

Crumbley was responsible for the bird head. On November 11, 2021, the head of a

bird was found in a jar in a student restroom at OHS. There was no other content

that accompanied this strange act. It was brought to the attention of law enforcement

and immediately investigated by law enforcement. After law enforcement

investigated the bird head incident and before November 30, law enforcement

informed the School District that there was no threat to Oxford High School. On

November 17, 2021, an anonymous tip was made to OKAY2SAY, which is an

anonymous tip line for school related threats. This tip claimed that the bird head was

brought to the school by a different student. That student was permanently removed

from school. That student has no known connection to Ethan Crumbley. Following

this tip, law enforcement confirmed on November 19, 2021 that the allegation had

been investigated and it was determined that there was no threat at Oxford High

School.

      42.    In answer to paragraph 42, Defendants neither admit nor deny the

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allegations for the reason that Defendants are unaware of facts that support or refute

the allegations after a reasonable investigation.

      43.    In answer to paragraph 43, Defendants deny the allegations contained

therein for the reason that they are untrue. Defendants further state that

correspondence was sent at that time that stated, “[t]he safety and security of our

students and staff is always our top priority. To accomplish this task, OHS has

numerous highly-trained professionals who work to keep our building safe and

secure. We have counselors and social workers who work with students on a daily

basis. We also have two highly-trained security guards and an Oakland County

Resource Officer on site to assist us as well.” The correspondence then continues by

encouraging students and parents to report any concern or threat they are aware of:

“Please contact us if you are aware of a specific threat or concern that you have heard

directly.”

      44.    In answer to paragraph 44, Defendants deny the allegations contained

therein for the reason that they are untrue. Defendants are unaware of any specific

threat made on social media to or directed at students at Oxford High School over

social media before November 30, 2021. The social media posts and deer’s head

were committed by a different student, who was permanently removed from the high

school before November 30, 2021.

      45.    In answer to paragraph 45, Defendants neither admit nor deny the

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 allegations, for the reason that Defendants are unaware of facts that support or refute

 the allegations after a reasonable investigation.

       46.    In answer to paragraph 46, Defendants deny the allegations contained

 therein for the reason that they are untrue. Defendants further state that by November

 19, 2021, an investigation into the rumors and the bird’s head was completed by law

 enforcement and it was determined by law enforcement that there was no threat at

 the high school.

       47.    In answer to paragraph 47, Defendants deny the allegations contained

 therein for the reason that they are untrue. Before the incident on November 30,

 2021, Defendants were unaware of Ethan Crumbley’s social media.

       48.    In answer to paragraph 48, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       49.    In answer to paragraph 49, Defendants deny the allegations for the

 reason that the allegations are untrue.

       50.    In answer to paragraph 50, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       51.    In answer to paragraph 51, Defendants deny the allegations contained

 therein for the reason that they are untrue. Defendant Throne had no knowledge of

 threats of violence directed at Oxford High School or its students.

       52.    In answer to paragraph 52, Defendants deny the allegations for the

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 reason that the allegations are untrue.

       53.    In answer to paragraph 53, Defendants deny the allegations for the

 reason that the allegations are untrue.

       54.    In answer to paragraph 54, Defendants deny the allegations for the

 reason that the allegations are untrue.

       55.    In answer to paragraph 55, Defendants neither admit nor deny the

 allegations for the reason that Defendants are unaware of facts that support or refute

 the allegations after a reasonable investigation.

       56.    In answer to paragraph 56, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       57.    In answer to paragraph 57, Defendants deny the allegations contained

 therein for the reason that they are untrue, they are an improper conclusory

 statement, and they contain an incorrect statement of the law.

       58.    In answer to paragraph 58, Defendants deny the allegations contained

 therein for the reason that they are untrue, they are an improper conclusory

 statement, and they contain an incorrect statement of the law.

       59.    In answer to paragraph 59, Defendants deny the allegations contained

 therein for the reason that they are untrue, they are an improper conclusory

 statement, and they contain an incorrect statement of the law.

       60.    In answer to paragraph 60, Defendants deny the allegations contained

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 therein for the reason that they are untrue.

       61.    In answer to paragraph 61, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       62.    In answer to paragraph 62, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       63.    In answer to paragraph 63, Defendants neither admit nor deny the

 allegations for the reason that Defendants are unaware of facts that support or refute

 the allegations after a reasonable investigation. Defendants further assert that Ethan

 Crumbley, Jennifer Crumbley, and James Crumbley did not inform Defendants that

 a handgun had been purchased for Ethan Crumbley on November 26, 2021.

       64.    In answer to paragraph 64, Defendants neither admit nor deny the

 allegations for the reason that Defendants are unaware of facts that support or refute

 the allegations after a reasonable investigation.

       65.    In answer to paragraph 65, Defendants neither admit nor deny the

 allegations for the reason that Defendants are unaware of facts that support or refute

 the allegations after a reasonable investigation

       66.    In answer to paragraph 66, Defendants neither admit nor deny the

 allegations for the reason that Defendants are unaware of facts that support or refute

 the allegations after a reasonable investigation.

       67.    In answer to paragraph 67, Defendants neither admit nor deny the

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 allegations for the reason that Defendants are unaware of facts that support or refute

 the allegations after a reasonable investigation.

       68.    In answer to paragraph 68, Defendants neither admit nor deny the

 allegations for the reason that Defendants are unaware of facts that support or refute

 the allegations after a reasonable investigation.

       69.    In answer to paragraph 69, Defendants deny the allegations contained

 therein for the reason that they are untrue. Allegations regarding live ammunition

 being discovered at school are false.

       70.    In answer to paragraph 70, Defendants neither admit nor deny the

 allegations contained therein for lack of knowledge upon which to form a belief and,

 therefore, leave Plaintiffs to their proofs.

       71.    In answer to paragraph 71, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       72.    In answer to paragraph 72, Defendants deny the allegations contained

 therein for the reason that they are untrue. Defendants were unaware of Ethan

 Crumbley’s social media before the incident on November 30, 2021.

       73.    In answer to paragraph 73, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       74.    In answer to paragraph 74, Defendants deny the allegations contained

 therein for the reason that they are untrue.

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       75.    In answer to paragraph 75, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       76.    In answer to paragraph 76, Defendants neither admit nor deny the

 allegations for the reason that Defendants are unaware of facts that support or refute

 the allegations after a reasonable investigation.

       77.    In answer to paragraph 77, Defendants neither admit nor deny the

 allegations for the reason that Defendants are unaware of facts that support or refute

 the allegations after a reasonable investigation.

       78.    In answer to paragraph 78, Defendants deny the allegations contained

 therein for the reason that they are untrue and are an improper conclusory statement.

       79.    In answer to paragraph 79, Defendants deny the allegations contained

 therein for the reason that they are untrue and are an improper conclusory statement.

       80.    In answer to paragraph 80, Defendants deny the allegations contained

 therein for the reason that they are untrue, they are an improper conclusory

 statement, and they contain an incorrect statement of the law.

       81.    In answer to paragraph 81, Defendants deny the allegations contained

 therein for the reason that they are untrue, they are an improper conclusory

 statement, and they contain an incorrect statement of the law.

       82.    In answer to paragraph 82, Defendants deny the allegations contained

 therein for the reason that they are untrue, they are an improper conclusory

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 statement, and they contain an incorrect statement of the law.

       83.    In answer to paragraph 83, Defendants deny the allegations contained

 therein for the reason that they are untrue, they are an improper conclusory

 statement, and they contain an incorrect statement of the law.

       84.    In answer to paragraph 84, Defendants deny the allegations contained

 therein for the reason that they are untrue, they are an improper conclusory

 statement, and they contain an incorrect statement of the law.

       85.    In answer to paragraph 85, Defendants deny the allegations contained

 therein for the reason that they are untrue, they are an improper conclusory

 statement, and they contain an incorrect statement of the law.

       86.    In answer to paragraph 86, Defendants deny the allegations contained

 therein for the reason that they are untrue, they are an improper conclusory

 statement, and they contain an incorrect statement of the law.

       87.    In answer to paragraph 87, Defendants deny the allegations contained

 therein for the reason that they are untrue, they are an improper conclusory

 statement, and they contain an incorrect statement of the law.

       88.    In answer to paragraph 88, Defendants deny the allegations contained

 therein for the reason that they are untrue. Further, Defendant Moore was not the

 Dean of Students at the high school.

       89.    In answer to paragraph 89, Defendants neither admit nor deny the

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 allegations for the reason that Defendants are unaware of facts that support or refute

 the allegations after a reasonable investigation.

       90.    In answer to paragraph 90, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       91.    In answer to paragraph 91, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       92.    In answer to paragraph 92, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       93.    In answer to paragraph 93, Defendants deny the allegations contained

 therein for the reason that they are untrue, they are an improper conclusory

 statement, and they contain an incorrect statement of the law.

       94.    In answer to paragraph 94, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       95.    In answer to paragraph 95, Defendants deny the allegations contained

 therein for the reason that they are untrue and are an improper conclusory statement.

       96.    In answer to paragraph 96, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       97.    In answer to paragraph 97, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       98.    In answer to paragraph 98, Defendants deny the allegations contained

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 therein for the reason that they are untrue, they are an improper conclusory

 statement, and they contain an incorrect statement of the law.

       99.    In answer to paragraph 99, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       100. In answer to paragraph 100, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       101. In answer to paragraph 101, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       102. In answer to paragraph 102, Defendants deny the allegations contained

 therein for the reason that they are untrue, they are an improper conclusory

 statement, and they contain an incorrect statement of the law.

       103. In answer to paragraph 103, Defendants admit the allegations.

       104. In answer to paragraph 104, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       105. In answer to paragraph 105, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       106. In answer to paragraph 106, Defendants deny the allegations contained

 therein for the reason that they are untrue, they are an improper conclusory

 statement, and they contain an incorrect statement of the law.

       107. In answer to paragraph 107, Defendants deny the allegations contained

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 therein for the reason that they are untrue in that Defendants Moore and Wolf did

 not attend meetings with Crumbley or his parents.

       108. In answer to paragraph 108, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       109. In answer to paragraph 109, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       110. In answer to paragraph 110, Defendants deny the allegations contained

 therein for the reason that they are untrue. Principal Wolf did not attend any meetings

 with Crumbley and his parents, and he had not met Crumbley before the incident on

 November 30. While Crumbley carried out his unforeseeable criminal act, Principal

 Wolf disregarded his own safety and ran into the hallway unarmed to confront

 Crumbley and to assist and protect as many students as he could.

       111. In answer to paragraph 111, Defendants deny the allegations contained

 therein for the reason that they are untrue. Defendant Moore did not attend a meeting

 with Ethan Crumbley and his parents, he was not the high school Dean of students

 on November 30, 2021, and he never met Crumbley or his parents.

       112. In answer to paragraph 112, Defendants deny the allegations contained

 therein for the reason that they are untrue, they are an improper conclusory

 statement, and they contain an incorrect statement of the law.

       113. In answer to paragraph 113, Defendants deny the allegations contained

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 therein for the reason that they are untrue, they are an improper conclusory

 statement, and they contain an incorrect statement of the law.

       114. In answer to paragraph 114, Defendants deny the allegations contained

 therein for the reason that they are untrue, they are an improper conclusory

 statement, and they contain an incorrect statement of the law.

       115. In answer to paragraph 115, Defendants deny the allegations contained

 therein for the reason that they are untrue, they are an improper conclusory

 statement, and they contain an incorrect statement of the law. Crumbley and his

 parents did not meet with a second counselor.

       116. In answer to paragraph 116, Defendants deny the allegations contained

 therein for the reason that they are untrue, they are an improper conclusory

 statement, and they contain an incorrect statement of the law.

       117. In answer to paragraph 117, Defendants deny the allegations contained

 therein for the reason that they are untrue and are an improper conclusory statement.

       118. In answer to paragraph 118, Defendants neither admit nor deny in the

 manner Plaintiffs have alleged. Based on reasonable investigation into the

 allegations, it is unknown at this time how Crumbley’s plan was “designed.”

       119. In answer to paragraph 119, Defendants deny the allegations contained

 therein for the reason that they are untrue, they are an improper conclusory

 statement, and they contain an incorrect statement of the law.

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       120. In answer to paragraph 120, Defendants neither admit nor deny in the

 manner Plaintiffs have alleged and, therefore, leave Plaintiffs to their proofs.

       121. In answer to paragraph 121, Defendants neither admit nor deny in the

 manner Plaintiffs have alleged and, therefore, leave Plaintiffs to their proofs.

 Defendants further state that its ALICE emergency response to the situation

 presented on November 30 saved lives. Oxford High School administration,

 including Principal Steve Wolf, Kristy Gibson-Marshall, and Kurt Nuss ran toward

 the incident, unarmed, to effectively save children, administer aid to injured parties,

 and to locate the perpetrator, putting themselves in harm’s way.

       122. In answer to paragraph 122, Defendants neither admit nor deny the

 allegation that Riley Franz was shot in the neck, but Defendants deny that any injury

 was a result of any of the Defendants’ actions as such allegations are untrue.

       123. In answer to paragraph 123, Defendants neither admit nor deny based

 on reasonable investigation into the allegations and leave Plaintiffs to their proofs

 thereon.

       124. In answer to paragraph 124, Defendants neither admit nor deny in the

 manner alleged by Plaintiffs. Based on information and belief, Ethan Crumbley was

 charged with one count of terrorism causing death, four counts of premeditated

 murder, seven counts of assault with intent to murder, and 12 counts of felony

 firearm.

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       125. In answer to paragraph 125, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       126. In answer to paragraph 126, Defendants deny the allegations contained

 therein for the reason that they are untrue, they are an improper conclusory

 statement, and they contain an incorrect statement of the law.

       127. In answer to paragraph 127, Defendants deny the allegations contained

 therein for the reason that they are untrue, they are an improper conclusory

 statement, and they contain an incorrect statement of the law.

       128. In answer to paragraph 128, Defendants deny the allegations contained

 therein for the reason that they are untrue, they are an improper conclusory

 statement, and they contain an incorrect statement of the law.

       129. In answer to paragraph 129, Defendants deny the allegations contained

 therein for the reason that they are untrue, they are an improper conclusory

 statement, and they contain an incorrect statement of the law.

       130. In answer to paragraph 130, Defendants deny the allegations contained

 therein for the reason that they are untrue, they are an improper conclusory

 statement, and they contain an incorrect statement of the law.

       131. In answer to paragraph 131, Defendants deny the allegations contained

 therein for the reason that they are untrue, they are an improper conclusory

 statement, and they contain an incorrect statement of the law.

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       132. In answer to paragraph 132, Defendants deny the allegations contained

 therein for the reason that they are untrue, they are an improper conclusory

 statement, and they contain an incorrect statement of the law.

       133. In answer to paragraph 133, Defendants deny the allegations contained

 therein for the reason that they are untrue, they are an improper conclusory

 statement, and they contain an incorrect statement of the law.

       134. In answer to paragraph 134, Defendants deny the allegations contained

 therein for the reason that they are untrue, they are an improper conclusory

 statement, and they contain an incorrect statement of the law.

       135. In answer to paragraph 135, Defendants deny the allegations contained

 therein for the reason that they are untrue, they are an improper conclusory

 statement, and they contain an incorrect statement of the law.

       136. In answer to paragraph 136, Defendants deny the allegations contained

 therein for the reason that they are untrue, they are an improper conclusory

 statement, and they contain an incorrect statement of the law.

       137. In answer to paragraph 137, Defendants deny the allegations contained

 therein for the reason that they are untrue, they are an improper conclusory

 statement, and they contain an incorrect statement of the law.

       138. In answer to paragraph 138, Defendants deny the allegations contained

 therein for the reason that they are untrue, they are an improper conclusory

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 statement, and they contain an incorrect statement of the law.

       139. In answer to paragraph 139, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       140. In answer to paragraph 140, Defendants deny the allegations contained

 therein for the reason that they are untrue, they are an improper conclusory

 statement, and they contain an incorrect statement of the law.

       141. In answer to paragraph 141, Defendants deny the allegations contained

 therein for the reason that they are untrue, they are an improper conclusory

 statement, and they contain an incorrect statement of the law.

       142. In answer to paragraph 142, Defendants deny the allegations contained

 therein for the reason that they are untrue, they are an improper conclusory

 statement, and they contain an incorrect statement of the law.

       143. In answer to paragraph 143, Defendants deny the allegations contained

 therein for the reason that they are untrue, they are an improper conclusory

 statement, and they contain an incorrect statement of the law.

       144. In answer to paragraph 144, Defendants deny the allegations contained

 therein for the reason that they are untrue, they are an improper conclusory

 statement, and they contain an incorrect statement of the law.

       145. In answer to paragraph 145, Defendants deny the allegations contained

 therein for the reason that they are untrue, they are an improper conclusory

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 statement, and they contain an incorrect statement of the law.

       146. In answer to paragraph 146, Defendants deny the allegations contained

 therein for the reason that they are untrue, they are an improper conclusory

 statement, and they contain an incorrect statement of the law.

       147. In answer to paragraph 147, Defendants deny the allegations contained

 therein for the reason that they are untrue, they are an improper conclusory

 statement, and they contain an incorrect statement of the law.

       148. In answer to paragraph 148, Defendants deny the allegations contained

 therein for the reason that they are untrue, they are an improper conclusory

 statement, and they contain an incorrect statement of the law.

       149. In answer to paragraph 149, Defendants deny the allegations contained

 therein for the reason that they are untrue, they are an improper conclusory

 statement, and they contain an incorrect statement of the law.

       150. In answer to paragraph 150, Defendants deny the allegations contained

 therein for the reason that they are untrue, they are an improper conclusory

 statement, and they contain an incorrect statement of the law.

       151. In answer to paragraph 151, Defendants deny the allegations contained

 therein for the reason that they are untrue, they are an improper conclusory

 statement, and they contain an incorrect statement of the law.



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                              COUNT I
         VIOLATION OF CIVIL RIGHTS PURSUANT TO THE
            14TH AMENDMENT TO THE CONSTITUTION
        AND 42 U.S.C. §1983, 1988 STATE CREATED DANGER
 AS TO DEFENDANTS, COUNSELOR #1, COUNSELOR #2, TEACHER #1,
    TEACHER #2, STAFF MEMBER, SUPERINTENDENT TIMOTHY
    THRONE, DEAN OF STUDENTS, RYAN MOORE and, PRINCIPAL
                          STEVEN WOLF
           152. In answer to paragraph 152, Defendants hereby incorporate by

 reference their responses contained in paragraphs 1 through 151 inclusive, as if fully

 set forth herein.

           153. In answer to paragraph 153, Defendants neither admit nor deny the

 allegations contained therein for lack of knowledge upon which to form a belief and,

 therefore, leave Plaintiffs to their proofs.

           154. In answer to paragraph 154, Defendants neither admit nor deny the

 allegations contained therein for lack of knowledge upon which to form a belief and,

 therefore, leave Plaintiffs to their proofs.

           155. In answer to paragraph 155, Defendants deny the allegations contained

 therein for the reason that they are untrue.

           156. In answer to paragraph 156, Defendants deny the allegations contained

 therein for the reason that they are untrue.

           157. In answer to paragraph 157, Defendants deny the allegations as untrue

 to the extent they claim that Defendants deprived Plaintiffs of their constitutional

 rights.
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       158. In answer to paragraph 158(a) – (s), Defendants deny the allegations

 contained therein for the reason that they are untrue.

       159. In answer to paragraph 159, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       160. In answer to paragraph 160(a) – (x), Defendants deny the allegations

 contained therein for the reason that they are untrue.

       161. In answer to paragraph 161(a) – (r), Defendants deny the allegations

 contained therein for the reason that they are untrue.

       162. In answer to paragraph 162, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       WHEREFORE,          Defendants,    OXFORD          COMMUNITY       SCHOOLS,

 TIMOTHY THRONE, STEVEN WOLF and RYAN MOORE, respectfully request

 that this Honorable Court enter an order of no cause of action as to Defendants,

 together with costs and attorney fees so wrongfully sustained.

                               COUNT II
          VIOLATION OF CIVIL RIGHTS PURSUANT TO THE
            14TH AMENDMENT TO THE CONSTITUTION
         AND 42 U.S.C. §1983, 1988 – SUPERVISORY LIABILITY
       DEFENDANTS SUPERINTENDENT TIMOTHY THRONE, and
                     PRINCIPAL STEVEN WOLF

       163. In answer to paragraph 163, Defendants hereby incorporate by

 reference their responses contained in paragraphs 1 through 162 inclusive, as if fully

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 set forth herein.

       164. In answer to paragraph 164, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       165. In answer to paragraph 165, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       166. In answer to paragraph 166, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       167. In answer to paragraph 167, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       168. In answer to paragraph 168, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       169. In answer to paragraph 169, Defendants neither admit nor deny the

 allegations contained therein for the reason that they constitute conclusions of law,

 rather than allegations of fact, and, therefore, leave Plaintiffs to their proofs thereon

 with a final determination to be made by the Court.

       170. In answer to paragraph 170, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       171. In answer to paragraph 171, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       172. In answer to paragraph 172 (a) – (s), Defendants deny the allegations

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 contained therein for the reason that they are untrue.

       173. In answer to paragraph 173 (a) – (x), Defendants deny the allegations

 contained therein for the reason that they are untrue.

       174. In answer to paragraph 174 (a) – (r), Defendants deny the allegations

 contained therein for the reason that they are untrue.

       175. In answer to paragraph 175, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       WHEREFORE,          Defendants,    OXFORD          COMMUNITY       SCHOOLS,

 TIMOTHY THRONE, STEVEN WOLF and RYAN MOORE, respectfully request

 that this Honorable Court enter an order of no cause of action as to Defendants,

 together with costs and attorney fees so wrongfully sustained.

                               COUNT III
                42 U.S.C. § 1983 – MONELL LIABILITY
         DEFENDANT OXFORD COMMUNITY SCHOOL DISTRICT

       176. In answer to paragraph 176, Defendants hereby incorporate by

 reference their responses contained in paragraphs 1 through 175 inclusive, as if fully

 set forth herein.

       177. In answer to paragraph 177, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       178. In answer to paragraph 178, Defendants deny the allegations contained

 therein for the reason that they are untrue.

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       179. In answer to paragraph 179, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       180. In answer to paragraph 180, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       181. In answer to paragraph 181, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       182. In answer to paragraph 182, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       183. In answer to paragraph 183, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       184. In answer to paragraph 184, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       185. In answer to paragraph 185, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       186. In answer to paragraph 186, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       187. In answer to paragraph 187 (a) – (x), Defendants deny the allegations

 contained therein for the reason that they are untrue.

       188. In answer to paragraph 188 (a) – (r), Defendants deny the allegations

 contained therein for the reason that they are untrue.

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       189. In answer to paragraph 189, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       WHEREFORE,          Defendants,     OXFORD        COMMUNITY           SCHOOLS,

 TIMOTHY THRONE, STEVEN WOLF and RYAN MOORE, respectfully request

 that this Honorable Court enter an order of no cause of action as to Defendants,

 together with costs and attorney fees so wrongfully sustained.

                       COUNT IV– GROSS NEGLIGENCE
                       DEFENDANT TIMOTHY THRONE

       190. In answer to paragraph 190, Defendants hereby incorporate by

 reference their responses contained in paragraphs 1 through 189 inclusive, as if fully

 set forth herein.

       191. In answer to paragraph 191, Defendants neither admit nor deny the

 allegations contained therein for the reason that they constitute conclusions of law,

 rather than allegations of fact, and, therefore, leave Plaintiffs to their proofs thereon

 with a final determination to be made by the Court.

       192. In answer to paragraph 192, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       193. In answer to paragraph 193, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       194. In answer to paragraph 194, Defendants deny the allegations contained


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 therein for the reason that they are untrue.

       195. In answer to paragraph 195, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       196. In answer to paragraph 196, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       197. In answer to paragraph 197, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       198. In answer to paragraph 198, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       199. In answer to paragraph 199, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       200. In answer to paragraph 200, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       201. In answer to paragraph 201, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       202. In answer to paragraph 202, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       203. In answer to paragraph 203, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       204. In answer to paragraph 204, Defendants deny the allegations contained

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 therein for the reason that they are untrue.

       205. In answer to paragraph 205, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       206. In answer to paragraph 206, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       207. In answer to paragraph 207, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       208. In answer to paragraph 208 (a) – (x), Defendants deny the allegations

 contained therein for the reason that they are untrue.

       209. In answer to paragraph 209 (a) – (r), Defendants deny the allegations

 contained therein for the reason that they are untrue.

       210. In answer to paragraph 210, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       211. In answer to paragraph 211, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       212. In answer to paragraph 212, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       213. In answer to paragraph 213, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       214. In answer to paragraph 214, Defendants deny the allegations contained

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 therein for the reason that they are untrue.

       215. In answer to paragraph 215, Defendants neither admit nor deny the

 allegations contained therein for lack of knowledge upon which to form a belief and,

 therefore, leave Plaintiffs to their proofs.

       WHEREFORE,           Defendants,     OXFORD       COMMUNITY           SCHOOLS,

 TIMOTHY THRONE, STEVEN WOLF and RYAN MOORE, respectfully request

 that this Honorable Court enter an order of no cause of action as to Defendants,

 together with costs and attorney fees so wrongfully sustained.

                        COUNT V – GROSS NEGLIGENCE,
                          DEFENDANT STEVEN WOLF

       216. In answer to paragraph 216, Defendants hereby incorporate by

 reference their responses contained in paragraphs 1 through 215 inclusive, as if fully

 set forth herein.

       217. In answer to paragraph 217, Defendants neither admit nor deny the

 allegations contained therein for the reason that they constitute conclusions of law,

 rather than allegations of fact, and, therefore, leave Plaintiffs to their proofs thereon

 with a final determination to be made by the Court.

       218. In answer to paragraph 218, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       219. In answer to paragraph 219, Defendants deny the allegations contained


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 therein for the reason that they are untrue.

       220. In answer to paragraph 220, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       221. In answer to paragraph 221, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       222. In answer to paragraph 222, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       223. In answer to paragraph 223, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       224. In answer to paragraph 224, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       225. In answer to paragraph 225, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       226. In answer to paragraph 226, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       227. In answer to paragraph 227, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       228. In answer to paragraph 228, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       229. In answer to paragraph 229, Defendants deny the allegations contained

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 therein for the reason that they are untrue.

       230. In answer to paragraph 230, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       231. In answer to paragraph 231, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       232. In answer to paragraph 232, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       233. In answer to paragraph 233, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       234. In answer to paragraph 234, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       235. In answer to paragraph 235, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       236. In answer to paragraph 236 (a) – (x), Defendants deny the allegations

 contained therein for the reason that they are untrue.

       237. In answer to paragraph 237 (a) – (r) Defendants deny the allegations

 contained therein for the reason that they are untrue.

       238. In answer to paragraph 238, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       239. In answer to paragraph 239, Defendants deny the allegations contained

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 therein for the reason that they are untrue.

       240. In answer to paragraph 240, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       241. In answer to paragraph 241, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       242. In answer to paragraph 242, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       243. In answer to paragraph 243, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       WHEREFORE,          Defendants,    OXFORD       COMMUNITY          SCHOOLS,

 TIMOTHY THRONE, STEVEN WOLF and RYAN MOORE, respectfully request

 that this Honorable Court enter an order of no cause of action as to Defendants,

 together with costs and attorney fees so wrongfully sustained.

                       COUNT VI – GROSS NEGLIGENCE,
                         DEFENDANT RYAN MOORE

       244. In answer to paragraph 244, Defendants hereby incorporate by

 reference their responses contained in paragraphs 1 through 243 inclusive, as if fully

 set forth herein.

       245. In answer to paragraph 245, Defendants deny the allegations contained

 therein for the reason that they are untrue. Defendants affirmatively aver that


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 Defendant Moore was not the Dean of Students at Oxford High School.

       246. In answer to paragraph 246, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       247. In answer to paragraph 247, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       248. In answer to paragraph 248, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       249. In answer to paragraph 249, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       250. In answer to paragraph 250, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       251. In answer to paragraph 251, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       252. In answer to paragraph 252, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       253. In answer to paragraph 253, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       254. In answer to paragraph 254, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       255. In answer to paragraph 255, Defendants deny the allegations contained

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 therein for the reason that they are untrue.

       256. In answer to paragraph 256, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       257. In answer to paragraph 257, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       258. In answer to paragraph 258, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       259. In answer to paragraph 259, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       260. In answer to paragraph 260, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       261. In answer to paragraph 261(a) – (x), Defendants deny the allegations

 contained therein for the reason that they are untrue.

       262. In answer to paragraph 262(a) – (r), Defendants deny the allegations

 contained therein for the reason that they are untrue.

       263. In answer to paragraph 263, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       264. In answer to paragraph 264, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       265. In answer to paragraph 265, Defendants deny the allegations contained

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 therein for the reason that they are untrue.

       266. In answer to paragraph 266, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       267. In answer to paragraph 267, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       268. In answer to paragraph 268, Defendants neither admit nor deny the

 allegations contained therein for lack of knowledge upon which to form a belief and,

 therefore, leave Plaintiffs to their proofs.

       WHEREFORE,           Defendants,     OXFORD     COMMUNITY          SCHOOLS,

 TIMOTHY THRONE, STEVEN WOLF and RYAN MOORE, respectfully request

 that this Honorable Court enter an order of no cause of action as to Defendants,

 together with costs and attorney fees so wrongfully sustained.

                        COUNT VII-GROSS NEGLIGENCE
                         DEFENDANT COUNSELOR #1

       269. In answer to paragraph 269, Defendants hereby incorporate by

 reference their responses contained in paragraphs 1 through 268 inclusive, as if fully

 set forth herein.

       270. In answer to paragraph 270, Defendants deny the allegations contained

 therein for the reason that they are untrue and for the further reason that Defendant

 School District does not employ an individual named Counselor #1.


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       271. In answer to paragraph 271, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       272. In answer to paragraph 272, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       273. In answer to paragraph 273, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       274. In answer to paragraph 274, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       275. In answer to paragraph 275, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       276. In answer to paragraph 276, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       277. In answer to paragraph 227, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       278. In answer to paragraph 278, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       279. In answer to paragraph 279, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       280. In answer to paragraph 280, Defendants deny the allegations contained

 therein for the reason that they are untrue.

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       281. In answer to paragraph 281, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       282. In answer to paragraph 282, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       283. In answer to paragraph 283, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       284. In answer to paragraph 284, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       285. In answer to paragraph 285, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       286. In answer to paragraph 286, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       287. In answer to paragraph 287, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       288. In answer to paragraph 288, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       289. In answer to paragraph 289(a) – (x), Defendants deny the allegations

 contained therein for the reason that they are untrue.

       290. In answer to paragraph 290(a) – (r), Defendants deny the allegations

 contained therein for the reason that they are untrue.

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       291. In answer to paragraph 291, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       292. In answer to paragraph 292, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       293. In answer to paragraph 293, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       294. In answer to paragraph 294, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       295. In answer to paragraph 295, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       296. In answer to paragraph 296, Defendants neither admit nor deny the

 allegations contained therein for lack of knowledge upon which to form a belief and,

 therefore, leave Plaintiffs to their proofs.

       WHEREFORE,           Defendants,     OXFORD    COMMUNITY         SCHOOLS,

 TIMOTHY THRONE, STEVEN WOLF and RYAN MOORE, respectfully request

 that this Honorable Court enter an order of no cause of action as to Defendants,

 together with costs and attorney fees so wrongfully sustained.

                      COUNT VIII – GROSS NEGLIGENCE,
                        DEFENDANT COUNSELOR #2

       297. In answer to paragraph 297, Defendants hereby incorporate by


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 reference their responses contained in paragraphs 1 through 296 inclusive, as if fully

 set forth herein.

       298. In answer to paragraph 298, Defendants deny the allegations contained

 therein for the reason that they are untrue and for the further reason that Defendant

 School District does not employ an individual named Counselor #2.

       299. In answer to paragraph 299, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       300. In answer to paragraph 300, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       301. In answer to paragraph 301, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       302. In answer to paragraph 302, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       303. In answer to paragraph 303, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       304. In answer to paragraph 304, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       305. In answer to paragraph 305, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       306. In answer to paragraph 306, Defendants deny the allegations contained

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 therein for the reason that they are untrue.

       307. In answer to paragraph 307, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       308. In answer to paragraph 308, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       309. In answer to paragraph 309, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       310. In answer to paragraph 310, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       311. In answer to paragraph 311, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       312. In answer to paragraph 312, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       313. In answer to paragraph 313, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       314. In answer to paragraph 314, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       315. In answer to paragraph 315(a) – (x), Defendants deny the allegations

 contained therein for the reason that they are untrue.

       316. In answer to paragraph 316(a) – (r), Defendants deny the allegations

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 contained therein for the reason that they are untrue.

       317. In answer to paragraph 317, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       318. In answer to paragraph 318, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       319. In answer to paragraph 319, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       320. In answer to paragraph 320, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       321. In answer to paragraph 321, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       322. In answer to paragraph 322, Defendants neither admit nor deny the

 allegations contained therein for lack of knowledge upon which to form a belief and,

 therefore, leave Plaintiffs to their proofs.

       WHEREFORE,           Defendants,     OXFORD        COMMUNITY     SCHOOLS,

 TIMOTHY THRONE, STEVEN WOLF and RYAN MOORE, respectfully request

 that this Honorable Court enter an order of no cause of action as to Defendants,

 together with costs and attorney fees so wrongfully sustained.




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                        COUNT IX-GROSS NEGLIGENCE
                         DEFENDANT STAFF MEMBER

       323. In answer to paragraph 323, Defendants hereby incorporate by

 reference their responses contained in paragraphs 1 through 322 inclusive, as if fully

 set forth herein.

       324. In answer to paragraph 324, Defendants deny the allegations contained

 therein for the reason that they are untrue and for the further reason that Defendant

 School District does not employ an individual named Staff Member.

       325. In answer to paragraph 325, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       326. In answer to paragraph 326, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       327. In answer to paragraph 327, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       328. In answer to paragraph 328, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       329. In answer to paragraph 329, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       330. In answer to paragraph 330, Defendants deny the allegations contained

 therein for the reason that they are untrue.


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       331. In answer to paragraph 331, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       332. In answer to paragraph 332, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       333. In answer to paragraph 333, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       334. In answer to paragraph 334, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       335. In answer to paragraph 335(a) – (x), Defendants deny the allegations

 contained therein for the reason that they are untrue.

       336. In answer to paragraph 336(a) – (r),

       337. In answer to paragraph 337, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       338. In answer to paragraph 338, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       339. In answer to paragraph 339, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       340. In answer to paragraph 340, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       341. In answer to paragraph 341, Defendants deny the allegations contained

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 therein for the reason that they are untrue.

       342. In answer to paragraph 342, Defendants neither admit nor deny the

 allegations contained therein for lack of knowledge upon which to form a belief and,

 therefore, leave Plaintiffs to their proofs.

       WHEREFORE,           Defendants,     OXFORD     COMMUNITY          SCHOOLS,

 TIMOTHY THRONE, STEVEN WOLF and RYAN MOORE, respectfully request

 that this Honorable Court enter an order of no cause of action as to Defendants,

 together with costs and attorney fees so wrongfully sustained.

                         COUNT X-GROSS NEGLIGENCE
                           DEFENDANT TEACHER #1

       343. In answer to paragraph 343, Defendants hereby incorporate by

 reference their responses contained in paragraphs 1 through 342 inclusive, as if fully

 set forth herein.

       344. In answer to paragraph 344, Defendants deny the allegations contained

 therein for the reason that they are untrue and for the further reason that Defendant

 School District does not employ an individual named Teacher #1.

       345. In answer to paragraph 345, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       346. In answer to paragraph 346, Defendants deny the allegations contained

 therein for the reason that they are untrue.


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       347. In answer to paragraph 347, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       348. In answer to paragraph 348, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       349. In answer to paragraph 349, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       350. In answer to paragraph 350, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       351. In answer to paragraph 351(a) – (x), Defendants deny the allegations

 contained therein for the reason that they are untrue.

       352. In answer to paragraph 352(a) – (r), Defendants deny the allegations

 contained therein for the reason that they are untrue.

       353. In answer to paragraph 353, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       354. In answer to paragraph 354, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       355. In answer to paragraph 355, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       356. In answer to paragraph 356, Defendants deny the allegations contained

 therein for the reason that they are untrue.

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       357. In answer to paragraph 357, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       358. In answer to paragraph 358, Defendants neither admit nor deny the

 allegations contained therein for lack of knowledge upon which to form a belief and,

 therefore, leave Plaintiffs to their proofs.

       WHEREFORE,           Defendants,     OXFORD     COMMUNITY          SCHOOLS,

 TIMOTHY THRONE, STEVEN WOLF and RYAN MOORE, respectfully request

 that this Honorable Court enter an order of no cause of action as to Defendants,

 together with costs and attorney fees so wrongfully sustained.

                        COUNT XI-GROSS NEGLIGENCE
                          DEFENDANT TEACHER #2

       359. In answer to paragraph 359, Defendants hereby incorporate by

 reference their responses contained in paragraphs 1 through 358 inclusive, as if fully

 set forth herein.

       360. In answer to paragraph 360, Defendants deny the allegations contained

 therein for the reason that they are untrue and for the further reason that Defendant

 School District does not employ an individual named Teacher #2.

       361. In answer to paragraph 361, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       362. In answer to paragraph 362, Defendants deny the allegations contained


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 therein for the reason that they are untrue.

       363. In answer to paragraph 363, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       364. In answer to paragraph 364, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       365. In answer to paragraph 365, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       366. In answer to paragraph 366, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       367. In answer to paragraph 367(a) – (x), Defendants deny the allegations

 contained therein for the reason that they are untrue.

       368. In answer to paragraph 368(a) – (r), Defendants deny the allegations

 contained therein for the reason that they are untrue.

       369. In answer to paragraph 369, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       370. In answer to paragraph 370, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       371. In answer to paragraph 371, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       372. In answer to paragraph 372, Defendants deny the allegations contained

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 therein for the reason that they are untrue.

       373. In answer to paragraph 373, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       374. In answer to paragraph 374, Defendants neither admit nor deny the

 allegations contained therein for lack of knowledge upon which to form a belief and,

 therefore, leave Plaintiffs to their proofs.

       WHEREFORE,           Defendants,     OXFORD     COMMUNITY          SCHOOLS,

 TIMOTHY THRONE, STEVEN WOLF and RYAN MOORE, respectfully request

 that this Honorable Court enter an order of no cause of action as to Defendants,

 together with costs and attorney fees so wrongfully sustained.

 COUNT XII- INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS/
      NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
                 TO PLAINTIFF RILEY FRANZ
                      BY ALL DEFENDANTS

       375. In answer to paragraph 375, Defendants hereby incorporate by

 reference their responses contained in paragraphs 1 through 374 inclusive, as if fully

 set forth herein.

       376. In answer to paragraph 376, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       377. In answer to paragraph 377, Defendants deny the allegations contained

 therein for the reason that they are untrue.


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       378. In answer to paragraph 378, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       379. In answer to paragraph 379, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       380. In answer to paragraph 380(a) – (x), Defendants deny the allegations

 contained therein for the reason that they are untrue.

       WHEREFORE,          Defendants,    OXFORD          COMMUNITY       SCHOOLS,

 TIMOTHY THRONE, STEVEN WOLF and RYAN MOORE, respectfully request

 that this Honorable Court enter an order of no cause of action as to Defendants,

 together with costs and attorney fees so wrongfully sustained.

 COUNT XIII-INTENTIONAL INFLECTION OF EMOTIONAL DISTRESS/
       NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
                TO PLAINTIFF ISABELLA FRANZ
                     BY ALL DEFENDANTS

       381. In answer to paragraph 381, Defendants hereby incorporate by

 reference their responses contained in paragraphs 1 through 380 inclusive, as if fully

 set forth herein.

       382. In answer to paragraph 382, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       383. In answer to paragraph 383, Defendants deny the allegations contained

 therein for the reason that they are untrue.


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       384. In answer to paragraph 384, Defendants neither admit nor deny the

 allegations contained therein for lack of knowledge upon which to form a belief and,

 therefore, leave Plaintiffs to their proofs.

       385. In answer to paragraph 385, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       386. In answer to paragraph 386, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       387. In answer to paragraph 387, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       388. In answer to paragraph 388(a) – (r), Defendants deny the allegations

 contained therein for the reason that they are untrue.

       WHEREFORE,           Defendants,     OXFORD        COMMUNITY       SCHOOLS,

 TIMOTHY THRONE, STEVEN WOLF and RYAN MOORE, respectfully request

 that this Honorable Court enter an order of no cause of action as to Defendants,

 together with costs and attorney fees so wrongfully sustained.

         COUNT XIV- VIOLATION OF CHILD PROTECTION LAW,
                       MCL§ 722.621, ET SEQ,
                        ALL DEFENDANTS

       389. In answer to paragraph 389, Defendants hereby incorporate by

 reference their responses contained in paragraphs 1 through 388 inclusive, as if fully

 set forth herein.

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       390. In answer to paragraph 390, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       391. In answer to paragraph 391, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       392. In answer to paragraph 392, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       393. In answer to paragraph 393, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       394. In answer to paragraph 394, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       395. In answer to paragraph 395, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       396. In answer to paragraph 396, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       397. In answer to paragraph 397, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       398. In answer to paragraph 398, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       399. In answer to paragraph 399, Defendants deny the allegations contained

 therein for the reason that they are untrue.

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       400. In answer to paragraph 400, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       401. In answer to paragraph 401, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       402. In answer to paragraph 402, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       403. In answer to paragraph 403, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       404. In answer to paragraph 404, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       405. In answer to paragraph 405, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       406. In answer to paragraph 406, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       407. In answer to paragraph 407, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       408. In answer to paragraph 408, Defendants deny the allegations contained

 therein for the reason that they are untrue.

       409. In answer to paragraph 409, Defendants deny the allegations contained

 therein for the reason that they are untrue.

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       410. In answer to paragraph 410(a) – (x), Defendants deny the allegations

 contained therein for the reason that they are untrue.

       411. In answer to paragraph 411(a) – (r), Defendants deny the allegations

 contained therein for the reason that they are untrue.

       WHEREFORE,         Defendants,     OXFORD          COMMUNITY      SCHOOLS,

 TIMOTHY THRONE, STEVEN WOLF and RYAN MOORE, respectfully request

 that this Honorable Court enter an order of no cause of action as to Defendants,

 together with costs and attorney fees so wrongfully sustained.

                                  /s/TIMOTHY J. MULLINS
                                  GIARMARCO, MULLINS & HORTON, PC
                                  Attorney for Defendants Oxford Community
                                  Schools, Timothy Throne, Steven Wolf and Ryan
                                  Moore
 DATED: January 21, 2022

                           AFFIRMATIVE DEFENSES

       Defendants, OXFORD COMMUNITY SCHOOLS, TIMOTHY THRONE,

 STEVEN WOLF and RYAN MOORE, by and through their attorneys,

 GIARMARCO, MULLINS & HORTON, P.C., state their Affirmative Defenses as

 follows:

       1.     Defendants deny that they breached any duties and, further, deny that

 they were negligent in any manner. Defendants affirmatively state that they were

 guided by and strictly observed all legal duties and obligations imposed by operation

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 of law and otherwise. Further, all actions of their agents, servants and/or employees

 were careful, prudent, proper and lawful.

        2.     Plaintiffs have failed to state a claim or cause of action against these

 Defendants as to which relief can be granted as prayed.

        3.     Defendants will show and rely upon at the time of trial that any injury

 or damage complained of by Plaintiffs was proximately caused by third persons not

 under the control of these Defendants.

        4.     Defendants will show and rely upon at the time of trial that at all times

 pertinent hereto, Defendants were engaged in the performance of governmental

 functions and, therefore, are immune from suit for civil damages for this claim

 pursuant to the principles of governmental immunity as set forth in case law and the

 statutes of this State.

        5.     Plaintiffs’ claims are barred by the doctrine of preemption.

        6.     Defendants will show at the time of trial that all actions or

 communications complained of in Plaintiffs’ Complaint were absolutely or

 qualifiedly privileged pursuant to the Constitutions, statutes and common law of the

 State of Michigan and of the United States.

        7.     Defendants are not liable to Plaintiffs for the criminal, assaultive acts

 of third parties.



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        8.    This Court lacks jurisdiction over the subject matter of Plaintiffs’

 Complaint.

        9.    Plaintiffs’ claim is barred by the Michigan Revised School Code.

        10.   Plaintiffs’ Complaint is conclusory in nature and fails to state a claim

 and sufficient facts upon which relief can be granted.

        11.   Defendants will show that Plaintiffs have failed to prove any

 deprivation of a Federal right, nor have Plaintiffs alleged or proven an act of

 deprivation taken under color of law sufficient to maintain an action based upon the

 Fourteenth Amendment or 42 USC §1983, § 1988 or the Michigan constitution or

 statutes.

        12.   Plaintiffs have failed to mitigate their damages.

        13.   Plaintiffs’ Complaint is barred by the provisions of the Eleventh

 Amendment.

        14.   Plaintiffs’ claim is barred by claim and issue preclusion.

        15.   Plaintiff’s claims against Defendants failed because Plaintiffs cannot

 show that Defendants acted with deliberate indifference regarding Plaintiff’s

 allegations of injury.

        16.   Defendants have not violated any clearly established constitutional or

 statutory right.



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        17.    As a matter of law, OXFORD COMMUNITY SCHOOLS cannot be

 held vicariously liable for its employees’ actions.

        18.    Plaintiffs’ claim fails as a matter of law and fact because Defendants

 were not required to protect Plaintiffs from the violence or other mishaps that are

 not directly attributable to the conduct of its employees.

        19.    Defendants will show and rely upon at the time of trial that Plaintiffs

 had preexisting medical conditions which are a contributing proximate cause of the

 injuries complained of.

        20.    Defendants reserve the right to amend their Answer, including

 additional affirmative defenses, upon completion.

                                    /s/TIMOTHY J. MULLINS
                                    GIARMARCO, MULLINS & HORTON, PC
                                    Attorney for Defendants Oxford Community
                                    Schools, Timothy Throne, Steven Wolf and Ryan
                                    Moore

 DATED: January 21, 2022

                        RELIANCE UPON JURY DEMAND

        Defendants, OXFORD COMMUNITY SCHOOLS, TIMOTHY THRONE,

 STEVEN WOLF and RYAN MOORE, by and through their attorneys,

 GIARMARCO, MULLINS & HORTON, P.C., hereby rely upon the jury demand

 previously filed by Plaintiffs as to all issues of trial.


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                              /s/TIMOTHY J. MULLINS
                              GIARMARCO, MULLINS & HORTON, PC
                              Attorney for Defendants Oxford Community
                              Schools, Timothy Throne, Steven Wolf and Ryan
                              Moore

 DATED: January 21, 2022

                CERTIFICATE OF ELECTRONIC SERVICE

        TIMOTHY J. MULLINS states that on January 21, 2022, he did serve a copy
 of the Answer, Affirmative Defenses and Reliance Upon Jury Demand via the
 United States District Court electronic transmission.

                              /s/TIMOTHY J. MULLINS
                              GIARMARCO, MULLINS & HORTON, PC
                              Attorney for Defendants Oxford Community
                              Schools, Timothy Throne, Steven Wolf and Ryan
                              Moore
                              101 W. Big Beaver Road, 10th Floor
                              Troy, MI 48084-5280
                              (248) 457-7020
                              tmullins@gmhlaw.com
                              P28021




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